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                     UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  In re: Ericka Jarrell,                                  Chapter 13
                              Debtor
                                                          Bankruptcy No.

                                DEBTOR’S CHAPTER 13 PLAN


                             YOUR RIGHTS WILL BE AFFECTED

  If you oppose any provision of this plan you must file a timely written objection. This
  plan may be confirmed and become binding on you without further notice or hearing
  unless a written objection is filed before the deadline stated on the Notice issued in
  connection with the filing of the plan.

  PLAN PROVISIONS DISCHARGE

  The debtor will seek a discharge of debts pursuant to Section 1328(a).

          1.         PLAN FUNDING AND LENGTH OF PLAN

  This plan provides for payments by the debtor of $320.00 per month for 60 months, for a
  total of $19,200.00. This monthly plan payment will begin no later than 30 days
  following the date of the filing of the bankruptcy petition.

          2.         SECURED CLAIMS

  A.      Adequate Protection Payments under Section 1326

  Adequate protection payments in the following amounts will be paid by the debtor to the
  trustee. The trustee will disburse pre-confirmation adequate protection payments for
  which a proof of claim has been filed as soon as practicable after receipt of said payments
  from the debtor.

  Name of Creditor         Description of Collateral                       Amount of Claim
  N/A

  B.      Mortgage and Other Direct Payments by Debtor

  Ongoing payments will be made outside the plan according to the original contract terms,
  with no modification of contract terms and with liens retained.

  Name of Creditor                 Description of Collateral               Principal Balance
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  U.S. Bank National            62 W. Sharpnack Street.                   $100,415.17
  Association (Trustee for      Philadelphia, PA 19119
  the Pennsylvania Housing
  Finance Agency)


   C.     Arrears

  Name of Creditor              Description of           Pre-Petition Arrears to     Total to be Paid in
                                Collateral               be Cured                    Plan
  U.S. Bank National            62 W. Sharpnack          $12,024.00                  12,024.00
  Association (Trustee for      Street.
  the Pennsylvania Housing      Philadelphia, PA
  Finance Agency)               19119
  (Claim for mortgage
  arrears)
  City of Philadelphia          62 W. Sharpnack          $1,958.00                   $3,793.02
  Water Revenue Bureau          Street.
  c/o Law Department            Philadelphia, PA
  1401 JFK Blvd, 5th Floor      19119
  Philadelphia, PA 19102
  (Claim for water/sewer
  arrears)

  D.      Secured Claims Paid According to Modified Terms

  These amounts will be paid in the plan according to modified terms, and liens retained
  until entry of discharge. The excess of the creditor’s claim will be treated as an unsecured
  claim. Any claim listed as ‘NO VALUE” in the “Modified Principal Balance” column
  below will be treated as an unsecured claim. A MOTION AND/OR AN ADVERSARY
  ACTION, AS APPROPRIATE SHALL BE FILED UNDER SECTION 506(a) TO
  DETERMINE THE EXTENT, VALIDITY, AND PRIORITY OF THE LIEN.

  Name of Creditor    Description of        Modified           Modified       Total        Plan or
                      Collateral            Principal          Interest       Payment      Adversary
                                            Balance of Claim   Rate                        Action
  N/A

  E.      Other Secured Claims Provided For in Plan

  These amounts will be paid in the plan, and liens retained until entry of discharge.

  Name of Creditor              Description of          Principal         Interest      Total to be
                                Collateral              Balance of        Rate          Paid in Plan
                                                        Claim
  N/A
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  F.      Secured Claims Not Provided For in Plan

  No payments shall be made by the trustee to the holders of these claims, whether or not
  the claims are filed and allowed. The holders of these claims shall retain any liens which
  they may have, unaffected by this plan. The claims shall not be discharged by the entry of
  a discharge order. The claims shall be addressed by the debtor outside the plan. These
  claims are expressly “not provided for” by this plan within the meaning of 11 U.S.C. §§
  1325(a)(5) and 1328.

  Name of Creditor                  Principal         Description of Collateral
                                    Balance of
                                    Claim
  N/A


  G.      Surrender of Collateral

  Name of Creditor                     Description of Collateral Surrendered
  N/A

  H.      Lien Avoidance

  The debtor will move to avoid the liens of the following creditors pursuant to Section
  522(f):

  Name of Creditor                     Description of Collateral
  N/A

          3.         PRIORITY CLAIMS

  A.      Allowed unsecured claims entitled to priority under section 507 will be paid in
  full with the exception of certain assigned Domestic Support Obligations that may be
  paid less than 100% pursuant to section 1322(a)(4):

  Name of Creditor                                 Total Payment
  U.S. Internal Revenue Service                    $1,363.00

  B.      Administrative Claims:

          1.      Trustee Fees: Percentage fees payable to the trustee will be paid at the
  rate fixed by the United States Trustee, not to exceed 10%.

          2.     Attorney Fees: No retainer has been paid, and no fee will be paid from the
  debtor under the plan. Community Legal Services is providing legal services without
  charge.
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          4.      UNSECURED CLAIMS

  A.      Claims of Unsecured Non-priority Creditors Specially Classified: Includes
  unsecured claims, such as co-signed unsecured debts, that will be paid in full even though
  all other unsecured claims may not be paid in full.

  Name of Creditor        Reasons for Special Classification            Amount of Claim
  N/A

  B.      Claims of General Unsecured Creditors: The debtor estimates that $0.00 after
  trustee’s expenses will be available for distribution to unsecured creditors. The debtor
  calculates that no minimum amount must be paid to unsecured creditors in order to
  comply with the liquidation test for confirmation and the debtor calculates that no
  minimum amount must be paid to unsecured, non-priority creditors in order to comply
  with the Means Test.

  C.      Funding: If any funds are or become available, the funds will be distributed pro-
  rata.

          5.      EXECUTORY CONTRACTS AND UNEXPIRED LEASES


  The following executory contracts and unexpired leases are assumed (and pre-petition
  arrears to be cured in the plan) or rejected (so indicate):

  Name of Creditor      Monthly Payment        Arrears          Total Claim        Assume/Reject
  N/A


          6.      ORDER OF DISTRIBUTION

  Payments from the plan will be made by the trustee in the following order:

  Level 1: Adequate protection payments.
  Level 2: Domestic Support Obligations.
  Level 3: Priority claims, pro rata.
  Level 4: Secured claims, pro rata.
  Level 5: Specially classified unsecured claims.
  Level 6: General unsecured claims, pro rata.




          7.      REVESTING OF PROPERTY

  Property of the estate, with the exception of the debtor’s residence, at the address set forth in
  her chapter 13 petition, will vest in the debtor upon confirmation. The debtor’s residence will
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  vest in the debtor upon the closing of the case. Debtor will have the sole right to use and
  possess property of the estate during the course of the case. If this case is converted from
  a case under chapter 13 to a case under chapter 7, then such property as may revest in the
  debtor upon conversion to chapter 7 shall so revest.


         8.       ADDITIONAL PROVISIONS REGARDING SECURED CLAIMS

  A.     As to the secured mortgage claim of U.S. Bank National Association (Trustee for
  the Pennsylvania Housing Finance Agency), confirmation of this plan shall constitute a
  finding that:

         a) The amount of the allowed claim is sufficient to cure any default that existed
         as of the date of the petition;

         b) The debtor is curing the default on the mortgage within a reasonable period of
         time; and

         c) The amount needed to pay the arrears claim over the life of the plan does not
         exceed the total payment on the claim set forth above.


         9.       GENERAL PLAN PROVISIONS

  A.      Any proof of claim or amendment thereto filed by a creditor after confirmation
  will be untimely and subject to disallowance at the debtor’s discretion. The provisions of
  this plan setting the amount of any creditor’s allowed claim, secured, administrative, or
  unsecured, will govern over any conflicting amount indicated in proofs of claim filed by
  the creditor unless the amount indicated in the proof of claim is lower than the amount set
  in the plan.

  B.      No creditor shall enter or cause to be entered any adverse or derogatory
  information on a credit report or provide adverse or derogatory information to a credit
  reporting agency as long as the debtor is performing in compliance with this plan.

  C.      In the event that any creditor in any class refuses any disbursement from the
  standing trustee, the standing trustee shall be authorized to disburse those funds to other
  creditors in the same class, or if all such similarly classified creditors have already been
  paid, to other creditors in the next level of priority, without seeking a modification of the
  plan.

  D.     Upon completion of the plan, all debts listed in the debtor’s schedules, except
  those excepted by 11 U.S.C. § 1328(a), shall be discharged.
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  Date: June 12, 2017                    Signed: /s/ Peter D. Schneider
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